     Case 2:20-cv-05965-ENV-RER Document 44 Filed 06/03/22 Page 1 of 2 PageID #: 1128




UNITED STATES DISTRICT COURT
                                                    EASTERN DISTRICT OF NEW YORK
THE CITY OF NEW YORK

                       Plaintiff,
        v.

OLD DOMINION TOBACCO COMPANY,                       CASE MANAGEMENT PLAN
INCORPORATED d/b/a ATLANTIC
DOMINION DISTRIBUTORS,                              Docket Number: 1:20-cv-05965

                       Defendant.




Upon consent of the parties, it is hereby ORDERED as follows:

1.      Defendants shall answer or otherwise move with respect to the complaint by        *    .

2.      No additional parties may be joined after      *      .

3.      No amendment of the pleadings will be permitted after          *    .

        *      On July 1, 2021, Defendant served a motion seeking dismissal of the complaint in its
entirety under FRCP 12(b)(2) & (6), which was fully briefed and submitted on September 2, 2021.
The parties agree that, should the motion be denied in part or in full such that claims remain against
Atlantic Dominion, Atlantic Dominion will have 45 days from the decision on the motion to dismiss to
file an Answer. The parties similarly agree that, should the motion be granted in full or in part such
that the City is provided with an opportunity to submit an amended complaint, the City will have 45
days from the decision on the motion to dismiss to file its amended complaint and to join any
additional parties.

4.      Date for completion of automatic disclosures required by Rule 26(a)(1) of the Federal Rules of
        Civil Procedure, if not yet made:     Completed       .

5.      The parties shall make required Rule 26(a)(2) disclosures with respect to:

               (a) expert witnesses on or before      **      .
               (b) rebuttal expert witnesses on or before         **   .

6.      All discovery, including depositions of experts, shall be completed on or before      **
        (Generally, this date must be no later than 6 months after the initial conference).
     Case 2:20-cv-05965-ENV-RER Document 44 Filed 06/03/22 Page 2 of 2 PageID #: 1129




       **     Pursuant to the Court's instruction the parties are conducting document discovery while
the parties await a decision on Defendant’s motion to dismiss. The production of all documents
responsive to the parties’ document requests and interrogatories, subject to any unresolved objections
or agreed upon limitations, shall be completed on or before July 30, 2022.

7.      Pre-motion letters regarding proposed dispositive motions must be submitted within one
        (1) weeks following the close of all discovery and responses are due one week later.

8.      Do the parties consent to trial before a magistrate judge pursuant to 28 U.S.C.§636(c)?
        (Answer no if any party declines to consent without indicating which party has declined.)
                                         Yes          No X

        If parties answer yes, then fill out the AO 85 (Rev. 01/09) Notice, Consent, and Reference of a Civil
        Action to a Magistrate Judge form. The form can be accessed at the following link:
        http://www.uscourts.gov/uscourts/FormsAndFees/Forms/AO085.pdf.

This scheduling order may be altered or amended upon a showing of good cause not foreseeable at the
date hereof.

       Dated: Brooklyn, New York

                                                           _______________________________
                                                           RAMON E. REYES, JR.
                                                           UNITED STATES MAGISTRATE JUDGE
       CONSENTED TO:
       Dated: June 3, 2022
                                                    /s/ Sabita Krishnan_______
                                                    Eric Proshansky
                                                    Sabita Krishnan
                                                    Hope Lu
                                                    New York City Law Department
                                                    100 Church Street
                                                    New York, New York 10007
                                                    Tel.: (212) 356-2273
                                                    skrishna@law.nyc.gov
                                                    Attorneys for Plaintiff

                                                    /s/ Mary Grace W. Metcalfe__
                                                    Avi Schick
                                                    Mary Grace W. Metcalfe
                                                    875 Third Avenue
                                                    New York, New York 10022
                                                    Tel: (212) 704-6000
                                                    avi.schick@troutman.com
                                                    marygrace.metcalfe@troutman.com
                                                    Attorneys for Defendant
